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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MATTEL, INC.,

                       Plaintiff,                   Case No. 24-cv-07048

       v.                                           Judge Lindsay C. Jenkins

THE PARTNERSHIPS and                                Magistrate Judge Young B. Kim
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Mattel, Inc.

(“Plaintiff”) hereby dismisses this action, with leave to reinstate within two hundred and seventy

(270) days, as to the following Defendants:

                 Defendant Name                                         Line No.
                  zhenbangbang                                             88
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Dated this 5th day of September 2024.   Respectfully submitted,

                                        /s/ Rachel S. Miller
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                                        Justin R. Gaudio
                                        Rachel S. Miller
                                        Berel Y. Lakovitsky
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